                       Case 1-23-42356-nhl                      Doc 5-2         Filed 07/06/23               Entered 07/06/23 07:56:58


 Information to identify the case:

                        Anthony Kerr                                                             Social Security number or ITIN:     xxx−xx−1097
 Debtor 1:
                                                                                                 EIN: _ _−_ _ _ _ _ _ _
                        First Name    Middle Name      Last Name
 Debtor 2:                                                                                       Social Security number or ITIN: _ _ _ _
 (Spouse, if filing)    First Name    Middle Name      Last Name                                 EIN: _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court:     Eastern District of New York                                 Date case filed for chapter:                13        7/5/23

 Case number:          1−23−42356−nhl

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                    Revised: 12/17

For the debtor(s) listed above, a case has been filed under Chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.
To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.
                                           About Debtor 1:                                           About Debtor 2:
 1. Debtor's Full Name                     Anthony Kerr
      All other names used in the last 8
 2.
      years
                                                   937 E 55th Street
 3. Address
                                                   Brooklyn, NY 11234
                                                   Anthony Kerr                                                         Contact Phone _____________
      Debtor's Attorney
 4.                                                937 E 55th Street                                                    Email: NONE
      Name and address
                                                   Brooklyn, NY 11234
 5. Bankruptcy Trustee                             Krista M Preuss                                                      Contact Phone 516−622−1340
    Name and address                               Krista M. Preuss, Chapter 13 Trustee                                 Email: info@ch13edny.com
                                                   100 Jericho Quadrangle
                                                   Ste 127
                                                   Jericho, NY 11753
 6. Meeting of Creditors                            August 9, 2023 at 10:30 AM                                         Location:
                                                                                                                       DUE TO COVID−19, THE MEETING OF
                                                                                                                       CREDITORS WILL BE HELD
                                                                                                                       TELEPHONICALLY. PLEASE REFER TO THE
                                                                                                                       CASE DOCKET OR CONTACT THE TRUSTEE
                                                                                                                       LISTED IN THIS NOTICE FOR
                                                                                                                       INSTRUCTIONS.
 7. Hearing on Confirmation of Plan                The debtor has or will file a plan. The hearing on confirmation will be held:
                                                   Date: 9/13/23, Time: 09:30 AM, Location: United States Bankruptcy Court, 271−C Cadman Plaza East,
                                                   Courtroom 3577 − 3rd Floor, Brooklyn, NY 11201−1800
 8. Deadlines                                       Deadline to Object to Discharge or to Challenge                              Filing Deadline: 10/10/23
    The Bankruptcy Clerk's Office must              Dischargeability of Certain Debts:
    receive these documents and any                  You must file:
    required filing fee by the following            • a motion if you assert that the debtors are
    deadlines.                                         not entitled to receive a discharge under
                                                       U.S.C. § 1328(f) or
                                                    • a complaint if you want to have a particular
                                                       debt excepted from discharge under
                                                       11 U.S.C. § 523(a)(2) or (4).
                                                    Deadline for holder(s) of a claim secured by a security interest in          Filing Deadline: 09/13/2023
                                                    the debtor(s)' principal residence (Rule 3002(c)(7)(A)):
                                                    Deadline for all creditors to file a Proof of Claim (except                  Filing Deadline: 09/13/2023
                                                    governmental units and holder(s) of a claim that is secured by a
                                                    security interest in the debtor(s)' principal residence):
                                                    Deadline for governmental units to file a Proof of Claim (except as Filing Deadline: 1/2/24
                                                    otherwise provided in Fed. R. Bankr. P. 3002(c)(1)):
                                                    Deadline to Object to Exemptions:                                            Filing Deadline: 30 days after the
                                                    The law permits debtors to keep certain property as exempt. If                                conclusion of the
                                                    you believe that the law does not authorize an exemption                                      meeting of creditors
                                                    claimed, you may file an objection.

 9. Bankruptcy Clerk's Office                      Address of the Bankruptcy Clerk's Office:                            Hours Open:
    Documents in this case may be                  271−C Cadman Plaza East, Suite 1595                                  Monday − Friday 9:00 AM − 4:30 PM
    filed at this address.                         Brooklyn, NY 11201−1800
    You may inspect all records filed in                                                                                Contact Phone (347) 394−1700
    this case at this office or online at          Clerk of the Bankruptcy Court:
     pacer.uscourts.gov.                           Robert A. Gavin, Jr.                                                 Date: 7/6/23
                                                                                                                                         For more information, see page 2
Official Form 309I                                            Notice of Chapter 13 Bankruptcy Case                                                       page 1
               Case 1-23-42356-nhl                  Doc 5-2          Filed 07/06/23               Entered 07/06/23 07:56:58


Debtor Anthony Kerr                                                                                                           Case number 1−23−42356−nhl
10. Claims                              A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form "Official Form 410"
                                        may be obtained at www.uscourts.gov or any Bankruptcy Clerk's Office. If you do not file a Proof of Claim by
                                        the deadline, you might not be paid on your claim from other assets in the bankruptcy case. To be paid, you
                                        must file a proof of claim even if your claim is listed in the schedules that the debtor filed. Secured creditors
                                        retain rights in their collateral regardless of whether they file a Proof of Claim. Filing a Proof of Claim submits
                                        the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a
                                        secured creditor who files a Proof of Claim may surrender important nonmonetary rights, including the right to a
                                        jury trial.

                                        Filing Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of
                                        this notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor
                                        may file a motion requesting the court to extend the deadline.

                                        Do not include this notice with any filing you make with the court.

11. Legal Advice                         The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights, consult an attorney.

12. Creditors May Not Take Certain       The filing of the case imposed an automatic stay against most collection activities. This means that creditors
    Actions                              generally may not take action to collect debts from the debtors or the debtors' property. For example, while the
                                         stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or otherwise try
                                         to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise.
                                         Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under
                                         certain circumstances, the stay may be limited to 30 days or not exist at all, although debtors can ask the court
                                         to extend or impose a stay.

13. Meeting of Creditors                 A meeting of creditors is scheduled for the date, time and location listed on the front side. Debtors must attend
                                         the meeting to be questioned under oath by the trustee and by creditors. In a joint case, both spouses must
                                         attend. Creditors may attend, but are not required to do so. The meeting may be continued and concluded at a
                                         later date specified in a notice filed with the court.

14. Filing a Chapter 13 Bankruptcy       A bankruptcy case under Chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in
    Case                                 this court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows
                                         an individual with regular income and debts below a specified amount to adjust debts according to a plan. A
                                         plan is not effective unless the court confirms it. You may object to confirmation of the plan and appear at the
                                         confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if the confirmation
                                         hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The debtor will
                                         remain in possession of the property and may continue to operate the business, if any, unless the court orders
                                         otherwise.

15. Creditors with a Foreign Address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
                                     extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                     any questions about your rights in this case.

16. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                        distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                        exempt. You may inspect that list at the Bankruptcy Clerk's Office or online at pacer.uscourts.gov. If you
                                        believe that the law does not authorize an exemption that debtors claimed, you may file an objection by the
                                        deadline to object to exemption in line 8 on the front side.

17. Discharge of Debts                  Confirmation of a Chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                        However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                        are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                        except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                        523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                        If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                        you must file a motion objecting to Debtor's Discharge. The Bankruptcy Clerk's Office must receive the
                                        objection by the deadline to object to exemptions in line 8.

18. Option to Receive Notices            1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register for EBN at the
    Served by the Clerk by Email         BNC website https://bankruptcynotices.uscourts.gov/, or
    Instead of by U.S. Mail              2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice Request" with the
                                         Clerk of Court. Both options are FREE and allow the Clerk to quickly send you court−issued notices and
                                         orders by email.

19. Undeliverable Notices                Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the
                                         parties correct address, resend the returned notice, and notify this office of the parties change of address.
                                         Failure to provide all parties with a copy of the notice may adversely affect the debtor as provided by the
                                         Bankruptcy Court.

20. Form 121 Statement of Social         The debtor or debtor's attorney is required to bring a paper copy of the petition with full social security number
    Security #                           displayed to the first meeting of creditors.

21. Personal Financial Management        In order to receive a discharge, the debtor must complete a Personal Financial Management Course and must
    Course                               file a Certification About a Financial Management Course (Offical Form 423) no later than the last payment
                                         under the plan or upon the entry of a motion for a hardship discharge. If the Certification About a Financial
                                         Management Course is not filed within the allotted time, a discharge will not be issued and the case will be
                                         closed.

22. Hearing on Confirmation of the       The hearing on confirmation of the plan may be adjourned at the meeting of creditors without further notice.
    Plan; Dismissal of Case              The Court, on motion heard at the confirmation hearing, may dismiss the case or convert it to one under
                                         Chapter 7 if the debtor fails to timely file a plan or other required papers, fails to make a required
                                         preconfirmation payment, or fails to appear at the meeting of creditors or confirmation hearing. The Court, on
                                         motion heard at the confirmation hearing, may also dismiss the case or convert it to one under
                                         Chapter 7 if confirmation of the plan is denied.



Official Form 309I                                 Notice of Chapter 13 Bankruptcy Case                                                     page 2
